       Case 1:23-cv-01334-CRC        Document 46      Filed 03/14/24    Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




 HON. PAULINE NEWMAN,

                   Plaintiff,                      Case No. 1:23-cv-01334-CRC

          v.

 HON. KIMBERLY A. MOORE, et al.,

                   Defendants.


                      JOINT PROPOSED BRIEFING SCHEDULE
       After the Court ruled on Defendants’ motion to dismiss, ECF No. 43, Defendants filed

an answer and a motion for judgment on the pleadings on March 8, 2024, ECF Nos. 44 & 45.

Under the Local Rules, Plaintiff’s opposition to that motion would be due on March 22, 2024,
and Defendants’ reply would be due one week later, on March 29, 2024. See LCvR 7(b), (d).

The parties have now conferred and agreed to a modified briefing schedule on Defendants’

motion for judgment on the pleadings. The parties respectfully request that the Court enter

the following agreed-upon briefing schedule:

                              Brief                                     Date
     Defendants’ motion for judgment on the pleadings            Filed March 8, 2024
     Plaintiff’s opposition                                          April 5, 2024
     Defendants’ reply                                              April 19, 2024
A proposed order is attached.




                                               1
     Case 1:23-cv-01334-CRC     Document 46       Filed 03/14/24      Page 2 of 2




DATED: March 14, 2024                      Respectfully submitted,

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